                             EXHIBIT R




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  From:            Patrick Sanders
  To:              Steve Mintz; Terence McCormick; John Jacobson; Kathy Klein
  Cc:              Robert MacGill; Scott Murray; Andy Goldstein; Todd Cole; Bundren, Brandon; thurney@jacksonkelly.com;
                   gcallas@jacksonkelly.com; gmarchetti@tpmblaw.com; matt@tpmblaw.com; Nokes, Scarlett; Besen, Gene
  Subject:         Hunt v. SBC, et al. / Joint Discovery Dispute Statement
  Date:            Friday, January 5, 2024 2:35:29 PM
  Attachments:     Ex. I.pdf
                   Ex. G.pdf
                   Ex. H.pdf
                   Ex. J.pdf
                   Ex. K.pdf
                   DRAFT 2024-1-5 Joint Discovery Statement .docx
                   Exs. A-F.zip


 Counsel,

 Attached, please find a draft of a Joint Discovery Dispute Statement, as well as Plaintiff's
 exhibits for the same. We plan on filing this with the Court on Monday (1/8) by 3:00pm
 Eastern. Please provide Guidepost's position by 2:00pm Eastern on Monday.

 Best regards,

 Patrick Sanders
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